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Sheet I
UNITED STATES DISTRICT COURT
EASTERN District of LOUISIANA
UNITED STATES OF AMERICA AMENDED JUDGMENT IN A CRIMINAL CASE
Vv.
: 13-274 A
TEDRICK LEE Case Number: 13
USM Number: 33600-034
Date of Original Judgment: _ 12/9/2014 Gearge Chaney, Jr.
(Or Date of Last Amended Judgment) Defendant's Attomey
Reason for Amendment:
L] Correction of Sentence on Remand (18 U.S.C. 3742(f)(L) and (29) C] Modification of Supervision Conditions (18 U.S.C. 8§ 3563(¢) or 3583(e))
L] Reduction of Sentence for Changed Circumstances (Fed. R. Crim. L] Modification of Imposed Term of Imprisonment for Extraordinary and
P. 35(b)) Compelling Reasons (18 U.S.C, § 3582(c)(1))
L] Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35a) _] Modification of Imposed Term of Imprisonment for Retroactive Amendment(s}

Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36} to the Sentencing Guidelines (18 U.S.C. § 3582(0}(2)}

[_] Direct Motion to District Court Pursuant [7] 28 U.S.C. § 2255 or
[] 18 U.S.C. § 3559(0)(7)

[-] Modification of Restitution Order (18 U.S.C. § 3664)

THE DEFENDANT:
iw pleaded guilty to count(s) 1 & 2 of the superseding bill of information on June 9, 2074.

 

L] pleaded nolo contendere to count(s)
which was accepted by the court.

 

(_ was found guilty on count(s)
after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:
Title & Section Nature of Offense

 

Offense Ended
21:841, 846 ~” Conspiracy to distribute and possess with intent to: di tribute:

   

 

100 grams or more of a substance containing a detectabie

    

18:922, 924 amount of heroin. Possession of firearm by convicted felon: "8 8 me og
The defendant is sentenced as provided in pages 2 through S of this judgment. ‘The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
[1 The defendant has been found not guilty on count(s)
if Count(s) _original and superseding ind. [J is [fare dismissed on the motion of the United States.

__ Itis ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances,

 

 

 

 

6/10/2015
Date of Impogitien of Jud. t
A Shen
Signature Af Judg }
Jay C. daine U.S. District Judge
Name of Judge Title of Judge

GlesT re

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Date

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Sheet 2 — [mprisonment (NOTE: Identify Changes with Asterisks (*)}

DEFENDANT: TEDRICK LEE Judgment — Page A. of S

CASE NUMBER: 13-274 A

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of

51 months, as to counts 1 & 2, such terms to run concurrently to each other *** and te run concurrently*** to the sentence
imposed in docket #900214 and #1003016, 2ist Judicial District Court, Tangipahoa Parish, State of Louisiana.

iw The court makes the following recommendations to the Bureau of Prisons:

The defendant receive drug treatment and mental health treatment; that he be placed close to home, that he participate in
vocational training in building maintenance, construction, grounds keeping, horticulture and music. The Court, having made a
factual finding of no violence in the defendant's past, recommends placement in the 500 hour resideniial program.

iw The defendant is remanded to the custody of the United States Marshal.

L] The defendant shail surrender to the United States Marshal for this district:
Ol at [J am (J) pm. on
[1] as notified by the United States Marshal.

 

(} The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

[] before 2 p.m. on

 

[] as notified by the United States Marshal.

(1 as notified by the Prebation or Pretrial Services Office.

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at with a certified copy of this judgment.
UNITED STATES MARSHAL
By.

 

DEPUTY UNITED STATES MARSHAL

 
riminal Case
Sheet 3 — Supervised Release (NOTE: Identify Changes with Asterisks (*)}

DEFENDANT: TEDRICK LEE Judgment—Page a of S$

CASE NUMBER: 13-274 4

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SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of

4 years, as io counts 1 & 2, to be served concurrently.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.

The defendant shal] not commit another federal, state, or local crime.
The defendant shal! not unlawfully possess a controlled substance. The defendant shall refrain from any untawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
(] The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of

future substance abuse. (Check, if applicable.)
vf The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon, (Check, if applicable.)
A The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

[1 The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
student, as directed by the probation officer. (Check, if applicable.}

(1 The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment impeses a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with
the Schedule of Payments sheet of this judgment.

__ The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shaJl not leave the judicial district without the permission of the court or probation officer;

2} the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) the defendant shall support his or her dependents and meet other family responsibilities; .

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shail not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
a felony, unless granted permission to do so by the probation officer;

10} the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
any contraband observed in plain view of the probation officer;

11} the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
record, persona] history, or characteristics and shall permit the probation officer to make such notifications and confirm the
defendant’s compliance with such notification requirement.

 
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AO BSC (Rey, 09/11) Amended Judgment in a Criminal Case
Sheet 3C — Supervised Release (NOTE: Identify Changes with Asterisks (*))

Judgment—Page 4 of 5

DEFENDANT: TEDRICK LEE
CASE NUMBER: 13-274A

SPECIAL CONDITIONS OF SUPERVISION

1) Tne defendant shall pursue his HISET or vocational training that will equip him for suitable employment as approved by
the United States Probation Officer.

2) The defendant shall maintain full-time, legitimate employment and not be unemployed for a term of more than 30 days
unless excused for schooling, training, or other acceptable reasons. Further, the defendant shall provide documentation
including, but not limited to pay stubs, contractual agreements, \W-2 Wage and Earning Statements, and other
documentation requested by the United States Probation Officer. If unemployed, the defendant shall participate in
employment readiness programs, as approved by the probation officer.

3) The defendant shail undergo random urinalyses, as directed by the U.S. Probation Officer. If the defendant tests
positive for the use of illegal narcotics, he/she may, as determined by the probation officer, participate in an approved
treatment program for substance abuse and abide by all supplemental conditions of treatment, unless directed otherwise
by the Court. Participation may include inpatient/outpatient treatment. The defendant shali contribute to the cost of this
program to the extent that the defendant is deemed capable by the U. S. Probation Officer.

4) The defendant shall submit his person, residence, office or vehicle to a search, conducted by a United States Probation
Officer at a reasonable time in a reasonable manner, based upon reasonable suspicion that contraband or evidence of a
violation of a candition of supervision may exist; failure to submit to a search may be grounds for revocation; the defendant
shall warn any other resident(s} that the premises may be subject to searches pursuant to this condition.

 
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’ * Sheet 5 — Criminal Monetary Penalties (NOTE: Identify Changes with Asterisks (*)}

DEFENDANT: TEDRICK LEE Judgment — Page 5 of S

CASE NUMBER: 13-274A
CRIMINAL MONETARY PENALTIES

The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
TOTALS $200.00 $ $
CU The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AQ 245C) will be

entered after such determination.
{] The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately propartioned ayment, unless specified otherwise
in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 36640), all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss* Restitution Ordered Priorit r P reentage

    

 

TOTALS $ 0.00 §$ 0.00

 

L) Restitution amount ordered pursuant to plea agreement $

[1] The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in fuil before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[] The court determined that the defendant does not have the ability to pay interest, and it is ordered that:
[] the interest requirement is waivedfor (J fine (J restitution.

Lj the interest requirement for CO fine ["] restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.

 
